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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


   REGENERON PHARMACEUTICALS, INC.,

              Plaintiff,

        v.                                              CIVIL NO. 1:22-CV-61
                                                              (KLEEH)

   MYLAN PHARMACEUTICALS INC. and
   BIOCON BIOLOGICS INC.,

              Defendants.


                        ORDER DENYING AS MOOT DEFENDANTS’
                         MOTION TO EXCLUDE [ECF NO. 547]

        Pending    is    Defendants’   motion   to   exclude   the   deposition

   designations of Dr. Alan Ryder and Dr. Stephen R. Russell [ECF No.

   547].     Because Plaintiff did not seek to introduce deposition

   testimony of either Dr. Ryder or Dr. Russell during the bench trial

   in this matter, the Court DENIES AS MOOT Defendants’ motion to

   exclude their deposition testimony.

        It is so ORDERED.

        The Clerk shall transmit copies of this Order to counsel of

   record.

        DATED: December 27, 2023



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                                       THOMAS S. KLEEH, CHIEF JUDGE
                                       NORTHERN DISTRICT OF WEST VIRGINIA
